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                UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s)              20-72749 (Cons. w/ 20-71765 (L) and 20-72734)

Case Name         League of California Cities et al. v. FCC, et al.

Hearing Location (city)           San Francisco

Your Name         Cheryl Leanza

List the sitting dates for the three sitting months you were asked to review:
  July 10-14, July 17-21
  August 14-18, August 21-25
  September 11-15

Do you have an unresolvable conflict on any of the above dates?                                Yes      No
If yes, list the specific day(s) and the specific reason(s) you are unavailable:
  August 14-18
  September 15




Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
    Yes       No

If yes, list the number, name, and hearing city of each of the other case(s):




Signature      s/ Cheryl Leanza                                        Date 3/31/2023
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 32                                                                                        New 12/01/2018
